
PER CURIAM.
Appellant appeals the trial court's dismissal of his petition for writ of habeas corpus in Seminole County Circuit Court Case No. 2007-CF-5701-A. We affirm the trial court's order and caution Appellant that abusive, repetitive, malicious, or frivolous filings directed to the identified lower court case number may result in sanctions such as a bar on pro se filing in this Court and referral to prison officials for disciplinary proceedings, which may include forfeiture of gain time. See § 944.279(1), Fla. Stat. (2018) ; State v. Spencer , 751 So.2d 47 (Fla. 1999).
AFFIRMED.
COHEN, WALLIS and EDWARDS, JJ., concur.
